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                                                                                 E-FILED
                                                     Wednesday, 05 May, 2021 05:36:22 PM
                                                            Clerk, U.S. District Court, ILCD

               IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT
                       SPRINGFIELD, ILLINOIS

LEONARD WILLIAMS,                        )
                                         )
           Petitioner,                   )
                                         )
v.                                       )    Case No. 19-cv-03226
                                         )
UNITED STATES OF AMERICA,                )
                                         )
           Respondent.                   )

  MEMORANDUM SUPPLEMENTING PRO SE MOTION TO VACATE,
 CORRECT OR SET ASIDE SENTENCE PURSUANT TO U.S.C. § 2255

     Now comes Leonard Williams by his appointed counsel, D. Peter

Wise, of Gates Wise Schlosser and Goebel presents the following

memorandum which supplements Leonard Williams’ previously filed pro

se Motion to Vacate, Correct, or Set Aside Sentence pursuant to 28

U.S.C. § 2255 stating as follows:

     In his pro se pleading, Leonard Williams argues that his trial

counsel was constitutionally ineffective during the process of negotiating

his plea agreement when counsel failed to object to the government

incorporating its notice of Prior Conviction pursuant to 21 U.S.C. § 851

into paragraph 8 of the plea agreement.

     Initially, Mr. Williams argued that the conviction listed in the

government’s notice did not meet the federal definition of a felony drug

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conviction. Leonard Williams was charged in a four count indictment.

Count one charged that the defendant and Lonnie Williams knowingly

and intentionally conspired to distribute one hundred grams or more of

heroin, a schedule I controlled substance. On March 7, 2018, the

government had filed an Information Charging Prior Offenses pursuant

to 21 U.S.C. § 851. (Doc. 16) This notice listed a prior conviction of Mr.

Williams that could qualify as a basis for sentencing enhancement. That

prior conviction was for the offense of manufacture/Delivery of a

Controlled Substance in, 10-CF-859. (Doc 33). In that case Mr. Williams

was convicted of unlawful delivery of cocaine, a controlled substance.

The 851 notice alleged that the effect of the prior conviction for this

alleged "felony drug offense" was that Leonard Williams was subject to a

sentence of not less than 10 years and up to life imprisonment, a fine not

to exceed $8 million, and supervised release term of not less than 8

years. (Doc. 33).

     On April 27, 2018, Leonard Williams appeared before United States

Magistrate Judge Thomas Schanzle-Haskins and pled guilty to Count

One of the indictment, pursuant to a written plea agreement. (Doc. 18).

Count one charged Mr. Williams with conspiracy to distribute a

controlled substance in violation of 21 U.S.C. §846, 21 U.S.C. §841

(b)(1)(B) and 21 U.S.C. §841 (a)(1). Paragraph 8 of the plea agreement


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read as follows:

     8.    Because the defendant has one prior qualifying

           conviction under 21 U.S.C. §851, the charge of

           conspiracy to distribute 100 grams or more of a

           substance containing heroin has the following potential

           penalties:

                   (1)   Not less than 10 years and up to life

                         imprisonment;

                   (2)   Maximum $8,000,000 fine;

                   (3)   Not less than an 8 year period of supervised

                         release.

During the negotiation of the plea agreement, Leonard Williams’ trial

counsel did not object to the alleged prior qualifying conviction stated in

the 851 notice that was incorporated into paragraph 8 of the plea

agreement. If the plea agreement had not referenced the alleged prior

qualifying conviction, then Leonard Williams would have faced a potential

penalty of (1) not less than 5 years and not more than 40 years

imprisonment; (2) maximum $5,000,000 fine; and (3) a term of

supervised release of at least four years. 21 U.S.C. section 841(b)(1)(B).

     Prior to sentencing , the United States Probation Office prepared a

Presentence Investigation Report. The probation officer calculated an


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adjusted offense level of 24. (Doc 33, ¶37) The probation officer then

applied the career offender guidelines. (Id. ¶38). The probation officer

calculated the career offender offense level as 37 because the statutory

maximum term of imprisonment was life (Id.) After the three-point

reduction for acceptance of responsibility the total offense level was 34.

Mr. Williams’ criminal history category of VI yielded a guideline range of

262-327 months of imprisonment.

     Without the prior qualifying conviction stated in paragraph 8 of the

plea agreement, Mr. Williams’ offense level as a career offender would

have been 34. USSG 4B1.1 (b)(2). His total offense level would have

been 31. This offense level would have yielded a guideline sentencing

range of 188-235 months of imprisonment.

     Mr. Williams was sentenced on September 24, 2018. His trial

counsel argued that due to the significant mitigating evidence that had

been presented to the court, "of all the people that deserve a break– and

a break in this case is the mandatory minimum of 10 years--it’s Mr.

Williams." (Transcript of sentencing hearing, pg. 19). This court

sentenced Mr. Williams to 120 months imprisonment and imposed an 8

year term of supervised release. (Sentencing transcript, page 30)

     On September 20, 2019, Leonard Williams filed a motion to vacate,

set aside or correct sentence pursuant to 28 U.S.C. §2255. Mr. Williams


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alleged that his trial counsel was ineffective for failing to apply the

categorical approach to determine whether his prior Illinois manufacture

and delivery of cocaine conviction was predicate quality offense for 21

U.S.C. §851. Williams’ motion states that trial counsel should have

argues that the conviction was not a categorical match with the federal

definition of cocaine and therefore was not a proper qualifying conviction

under 21 U.S.C. §851. (Doc.1)

                                   Waiver

      The government argues that Mr. Williams’ §2255 challenge to his

conviction is barred by the collateral review waiver in this plea

agreement. That waiver is stated in paragraph 19 of the plea agreement.

The waiver states, "… The defendant knowingly and voluntarily waives

his right to challenge any and all issues relating to his plea agreement,

conviction and/or sentence ‘including, but not limited to, the amount of

any fine or restitution imposed’, and any collateral attack including, but

not limited to, a motion brought under title 28, U.S.C., §2255. The

waiver in this paragraph does not apply to a claim of ineffective

assistance of counsel." (Doc. 19). Mr. Williams relies on the last sentence

of the waiver provision, namely that the waiver he agreed to does not

apply to claims of ineffective assistance of counsel. The Seventh Circuit

has established that an attorney's ineffectiveness with regard to the plea


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agreement process as a whole renders the waiver unenforceable. Hurlow

v. United States 726 F.3d 958, 965 (7th Cir. 2013) “A direct or collateral

review waiver does not bar a challenge regarding the validity of a plea

agreement (and necessarily the waiver it contains) on grounds of

ineffective assistance of counsel; [defendant] need not have alleged that

his counsel was ineffective in the negotiation of the waiver provision of

his plea agreement specifically.” Id. This is exactly how the collateral

review waiver was explained to Mr. Williams when the magistrate judge

accepted his plea and when this court sentenced Mr. Williams.

(Recording change of plea hearing 18:30, Sentencing transcript p.6)

     Mr. Williams specifically argues that his trial counsel was

ineffective with respect to the process of negotiating a plea agreement.

Mr. Williams argues that his trial counsel was ineffective for failing to

object to the inclusion of the alleged qualifying conviction under 21

U.S.C. §851 in paragraph 8 of the Plea Agreement.

                    Ineffective Assistance of Counsel

     To prevail on a claim of ineffective assistance of counsel, the

Petitioner must satisfy the two-pronged standard of performance and

prejudice set forth in Strickland v. Washington, 466 U.S. 668. First, one

must show that counsel's performance of representation "fell below an

objective standard of reasonableness". Id. 669 Secondly, one must show


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prejudice in that there is "a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have been

different." Id. 695 Further, by way of explanation, The Court in Strickland

stated that "The Sixth Amendment refers simply to ‘counsel', not

specifying particular requirements of effective assistance. It relies instead

on the legal profession's maintenance of standards sufficient to justify

the law's presumption that counsel will fulfill the role in the adversary

process that the Amendment envisions. (Citation omitted) The proper

measure of attorney performance remains simply reasonableness under

prevailing professional norms." Id. 688

     The government argues that Mr. Williams’ trial counsel “is not

required to think of every argument or to anticipate changes in the law".

(United States’ response to petitioner's motion, Doc. 6 Pg 6). However,

very recently the Seventh Circuit stated, “that there are some

circumstances where [counsel] may be obliged to make, or at least to

evaluate, an argument that is sufficiently foreshadowed in existing case

law.” Bridges v. United States 991 F.3d 793, 804 (7th Cir. 2021) In

Bridges, the defendant was seeking postconviction relief under 28 U.S.C.

§2255 alleging he was denied effective assistance of counsel in pleading

guilty. He argued that his lawyer failed to realize and argue that Hobbs

act robbery did not then qualify as a "crime of violence" under the


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guidelines so he should not have been categorized as a career offender.

Id at 797. When Bridges pled guilty and was sentenced there was no

binding precedent in the Seventh Circuit on that issue. Bridges argued

that competent counsel would have recognized the issue or at least

known to investigate it. Id. The district court denied relief without a

hearing. The Seventh Circuit reversed and ordered an evidentiary

hearing on counsel's performance. Id.

     The court noted that when Bridges was pleading guilty and being

sentenced, the categorical approach was well established. “Competent

counsel would also know that the categorical approach frequently

produces counterintuitive results and has been the subject of much

judicial handwringing.” Id. at 804. Leonard Williams’ counsel should

have been well aware of the categorical approach to determine whether

Williams' prior Illinois cocaine conviction was a “felony drug offense" to

determine whether that prior conviction would qualify as a predicate

conviction for 21 U.S.C. §851. At the time of Mr. Williams' guilty plea

and sentencing hearing three of trial counsel's colleagues were appellate

counsel in Seventh Circuit cases where the categorical approach was

used to determine that a prior state court drug conviction did not qualify

as a predicate felony drug offense. See United States v. Elder 900 F 3rd

491 (7th Cir. 2018), United States v. De La Torre, 940 F.3d 938 (7th


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Cir.2019).

     Today, there is no question that an Illinois controlled substance

offense involving cocaine is not a "felony drug offense" within the

meaning of federal law. In United States v. Ruth, 960 F.3d 642 (7th

Cir.2020), the Seventh Circuit applied the categorical approach

established in Taylor v. United States, 495 U.S. 575 (1990) to determine

whether a prior Illinois cocaine conviction is a “felony drug offense"

within the meaning of federal law. The Ruth court concluded that, "on its

face,… The Illinois statute is categorically broader than the federal

definition." Id. at 647. Thus, an Illinois cocaine conviction cannot be a

qualifying predicate "felony drug offense" pursuant to 21 U.S.C. § 851.

     However, when trial counsel negotiated the plea agreement in this

case, other members of the Federal Defender's Office of the Central

District of Illinois were appellate counsel in cases where the categorical

approach was being used to challenge state drug convictions as

qualifying predicate "felony drug offenses." United States v. Elder, 900

F.3d 491 (7th Cir. 2018). Johanna Christiansen and Thomas Patton

were counsel for the appellant. The issue in that case was whether,

under the categorical approach of Taylor, his 1999 dangerous drug

Arizona conviction qualified as a felony drug offense. The Seventh

Circuit applied the categorical approach of Taylor and determined that


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Mr. Elder's state court conviction could not serve as a predicate offense.

Id. at 501. In this case, Ms. Christiansen filed the appellant's brief on

January 12, 2018, three months before Mr. Williams’ guilty plea.

Seventh Circuit Court of Appeals docket 17 - 2207, 01/12/2018 entry

12. Thus, trial counsel in this case had a winning Seventh Circuit brief

at his fingertips on the issue of applying Taylor's categorical approach to

challenge whether Mr. Williams’ 2010 Illinois manufacture and delivery

of cocaine case was a predicate felony drug offense.

      In United States v De La Torre, 940 F.3d 938 (7th Cir. 2019),

Daniel Hillis, another office colleague of Mr. Williams' trial counsel,

entered his appearance as appellate counsel on June 6, 2018. Court of

Appeals docket # 18-2009 6/06/2018 entry 13. In that case the Seventh

Circuit was called on to determine whether the state court

methamphetamine convictions of some of the defendants met the federal

definition of "felony drug offense" for purposes an 851 enhancement.

Again, the court applied Taylor's categorical approach. Once again, the

court ruled that these prior convictions did not meet the definition of a

"felony drug offense. Id. at 949. Trial counsel for Mr. Williams had Mr.

Hillis at his disposal to help him evaluate and make a categorical

approach Taylor argument with respect to Mr. Williams' prior cocaine

conviction.


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     In this case Mr. Williams’ trial counsel had the tools and resources

to mount a categorical approach argument that Mr. Williams’ 2010

Illinois cocaine conviction was not a qualifying predicate offense for 21

U.S.C. § 851. Competent counsel would have used the resources at his

disposal to make a categorical approach argument with respect to Mr.

Williams’ prior conviction. As the Bridges court stated, “defense counsel

may be required to anticipate arguments foreshadowed but not yet

adopted by existing case law.” Bridges, 991 F.3d at 803. Counsel's

failure to do so severely prejudiced Mr. Williams. Rather than facing a

mandatory minimum five-year sentence, he faced a ten year mandatory

minimum. Also, Mr. Williams career offender guideline became

substantially higher. Finally, this term of supervised release went from

up to 4 years to an 8 year term of supervised release.

     In Ruth, Justice St. Eve began her opinion with “In what is

becoming an all-to-familiar subject, this appeal raises a question about

whether a state drug statute sweeps more broadly than its federal

counterpart because the former includes a particular isomer of a

substance that the latter does not.”

     Mr. Williams’ trial counsel should have used the knowledge of his

office to raise a categorical approach challenge in this case. The failure

to do so violated Mr. Williams’ Sixth Amendment right to effective


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assistance of counsel.

                                 Respectfully submitted,
                                 Leonard Williams - Petitioner

                                 s/ D. Peter Wise

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                      CERTIFICATE OF SERVICE

      I hereby certify that on May 5, 2021, I electronically filed the
foregoing with the Clerk of the court using the CM/ECF system which
will send notification of such filing to the following:

Matthew Z. Weir
Assistant United State’s Attorney
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and I hereby certify that I have mailed by United States Postal Service
the document to the following non CM/ECF participants:




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